                    Case 2:14-cr-00012-LGW-BWC Document 658 Filed 05/13/15 Page 1 of 1

A0 247 (10111) Order Regarding Motion for Sentence Red action Pursuant to 18 U.S.C. § 3582(c)(2)                              Page 1 of (Page 2 Not for PubiLe Disclosure)




                                                                 UNITED STATES DISTRICT COURT
                                                                                        for the
                                                                              Brunswick Division
                        United States of America                                     )
                                          V.                                              )
                           Recardo M. Harris                                              ) Case No: 2:14CR00012-5
                       aka "Reco," aka "Cardo"                                            ) USM No: 18874-021
Date of Original Judgment:                  November 20, 2014                             ) Ronald E. Harrison, II
Date of Previous Amended Judgment: Not Applicable                                         ) Defendant's Attorney
(Use Date of Last Amended Judgment, if any)


                                           Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

         Upon motion of        the defendant     the Director of the Bureau of Prisons Ethe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § IB1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
FXI DENIED.  GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the Iaslfudgrnent
              issued) of       months is reduced to


                                                     (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated N6ve ber,0, 2014 shall remain in effect.
IT IS SO ORDERED.

Order Date:               May 13, 2015
                                                                                                             J    e'ssignature


                                                                                               LISA DBEY WOOD, CHIEF JUDGE
                                                                                               UNITED STATES DISTRICT COURT
Effective Date: November 1, 2015                                                               SOUTHERN DISTRICT OF GEORGIA
                          (if d/Jerent from order dale)                                                    Printed name and title
